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 5                                     In The United States District Court
                                    For The Western District Of Washington
 6

 7 Chris Hunichen, individually and on behalf of
   all others similarly situated,
 8
                           Plaintiff,
 9
          v.
10
   Atonomi LLC, a Delaware LLC, CENTRI
11 Technology, Inc., a Delaware Corporation,
   Vaughan Emery, David Fragale, Rob Strickland,
12 Kyle Strickland, Don Deloach, Wayne Wisehart,
   Woody Benson, Michael Mackey, James Salter,
13 and Luis Paris,

14                          Defendants.

15 Atonomi LLC, a Delaware LLC,                         No. 19-2-cv-00615-RAJ-MAT
16                          Counterclaimant,            [Proposed]
                                                        Order Granting Motion To Amend Complaint
17            v.

18 Chris Hunichen,

19                          Counter-Defendant.

20 Atonomi LLC, a Delaware LLC,

21                          Third Party Plaintiff,

22            v.

23 David Patrick Peters, Sean Getzwiller, David
   Cutler, Chance Kornuth, and Dennis Samuel
24 Blieden,

25                          Counter-Defendants.

26

27


[Proposed] Order Granting Motion To Amend - i                                Ard Law Group PLLC
No. 19-cv-00615-RAJ-MAT                                                      P.O. Box 11633
                                                                             Bainbridge Island, WA 98110
                                                                             Phone: (206) 701-9243
             Case 2:19-cv-00615-RAJ-MAT Document 136 Filed 11/06/20 Page 2 of 2




 1             This matter came to be heard upon Plaintiff Chris Hunichen’s (“Plaintiff”) Motion to

 2 Amend to add parties through filing a Second Amended Complaint (the “Motion,” ECF No. 131).

 3             The Court, having considered Plaintiff’s Motion, the Exhibits thereto, and all other

 4 evidence and argument presented regarding the Motion, finds that Plaintiff has shown good

 5 cause to amend.

 6             IT IS HEREBY ORDERED that Plaintiff’s Motion is GRANTED.

 7             IT IS SO ORDERED.

 8             Dated this 6th day of November, 2020.

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11                                                       A
                                                         Mary Alice Theiler
12
                                                         United States Magistrate Judge
13

14 Presented by:

15 Ard Law Group PLLC
   By:_s/Joel B. Ard____________
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27 Attorneys for Plaintiffs and Counter-Defendants

[Proposed] Order Granting Motion To Amend - 1                                Ard Law Group PLLC
No. 19-cv-00615-RAJ-MAT                                                      P.O. Box 11633
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